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                           SAFE@HOME
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                                            Mississippi Depart-men+ o-P   Child Protection Services
      EXHIBIT
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MDCPS Vision for Mississippi's Future
         Mississippi's Statewide Vision and Mission
The 2016 Mississippi Legislature created the Mississippi Department ofChild Protection Services and
empowered it to develop, execute, and provide programs to protect and serve Mississippi's children
and their families. MDCPS's five-year Strategic Improvement Plan is an essential component of the
Mississippi Legislature's statewide strategic plan which "envisions a lean and effective Mississippi state
government that empowers its people to live healthy, productive lives through the provision ofquality,
appropriate services and strategic investment in the state's human capital. Through this empowerment,
our state's citizens will experience a better quality oflife than the generation before them and will leave
their individual communities better for the generation that follows."'

To bring this vision to life, "the State of Mississippi provides quality and appropriate services to its
citizenry guided by the principles of: preserving the liberty ofall citizens by providing the least intrusive
state government; practicing accountability and transparency at every level of government; and,
placing ultimate value on efficiency and effectiveness of government service to taxpayers and citizens."
In the human services arena, the State's focus is "to ensure that Mississippians are able to develop to
their full potential by having their basic needs met, including the need for adequate food and shelter
and a healthy, stable, and nurturing family environment or a competent and caring system of social
support."

         MDCPS's Mission and Vision
We, as Mississippi's primary child welfare agency, believe Mississippi's children should grow up in
strong families, safe from harm and supported through partnerships that promote family stability and
permanency. Our mission is to lead Mississippi's efforts in keeping children and youth safe and
thriving by: strengthening families; preventing child abuse, neglect, and exploitation; and promoting
child and family well-being and permanent family connections.
         Our Philosophy ofPractice
We believe neither government nor other social institutions can ever fully replace a child's family. We
know that Mississippi's children and families will thrive when parents are supported, prepared, and
equipped to raise their own children in a safe, loving, and protective environment without unnecessary
government intrusion. To that end, our philosophy—Safe at Home—recognizes that removing
children from their families and placing them in foster care should be an intervention of last resort,
and that the first and greatest investment of our time and resources should be to protect and safely
care for children in their own homes. With the appropriate investment of short-term services and
intensive supports designed to strengthen families, even those who experience temporary family
disruption can reach sustainable, long-term familial safety and stability. We can avoid unnecessary



1 "Building a Better Mississippi," the statewide strategic plan for Mississippi's state government.


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family separation and out-of-home placement, thereby safely reducing additional trauma to children
and families.
We also recognize that sometimes children cannot safely remain in their own homes because of
eminent or actual danger. When that is the case, it is our responsibility to take immediate steps to
protect and care for those children while simultaneously and vigorously working toward timely
reunification with their families whenever safely possible. When removal is unavoidable, we believe
that we must make immediate efforts to provide appropriate services and supports to strengthen
parental capacities, heal broken relationships, and reunify families, to ensure that foster care works as
a restorative support to families and not as a replacement for them.
There will be cases, however, where reunification cannot be achieved. In such cases, we work through
Mississippi's youth court system to develop and assure timely completion of other permanent plans
including custody with a relative, adoption, durable legal custody/guardianship, or a successful
transition to independence. While reunification is preferred, all children deserve lasting permanency
whether reunification is achievable or not. It is our responsibility to ensure that permanency for every
child is achieved.
Overall, we work to empower families and encourage self-sufficiency while meeting children's needs
for safety and wellbeing and achieving timely permanency. Our philosophy recognizes that Mississippi
cannot achieve sustainable, long-term child and family wellbeing and permanent family connections
simply by operating a foster care system in which government raises children in lieu of their families.
Rather,long-term wellbeing for children and families can be achieved only by ensuring that foster care
is one tool in a much broader child welfare system which seeks to preserve families whenever possible.
Key to this are our statewide partnerships with community connections, law enforcement, service
providers, other state agencies, and courts. These partnerships are essential to the safety, well-being,
and permanency of all Mississippi families. While MDCPS is an executive branch agency, we work
closely with our statewide system of youth courts to provide a safety net for abused, neglected, and
exploited children. This safety net is particularly critical when children are removed and placed into
state custody. Immediate and diligent efforts must be made to place children and/or sibling groups
with other relatives, if possible, or with licensed foster families which can maintain the children and/or
sibling groups in their own schools and communities. The goal is to minimize trauma to the children
and birth families as much as possible. In these situations, families can best be supported by a strong
safety network, extended families and community support. Frontline staff and other partnerships
supporting them are leading agents ofpositive change in the lives ofthese children, youth, and families.




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Our Measures ofSuccess
Every system ultimately is judged by whether it achieves the outcomes it is designed to achieve. While
it is important that MDCPS has a clear mission and philosophy to guide our work, we must be able
to measure progress towards the vision we pursue. Our outcome measures are the quantitative
demonstration of how frequently and how well we achieve our desired ends.2
        Safety: Mississippi's children will befreefrom abuse and neglect.
We work to protect Mississippi's children from abuse and neglect, ensuring their safety and wellbeing
by partnering with families, communities, and other government entities in an ethically, culturally,
and socially responsible manner. We have the statutory responsibility to investigate all reports of child
abuse and neglect. Our statutory mission is, in this respect, reactive. But we also provide support to
the State's larger efforts to prevent abuse and neglect from ever occurring and we hold primary
responsibility for ensuring that no abused or neglected child suffers through another episode of
maltreatment.
To accomplish this, we must: 1) determine whether the facts reported to us meet the statutory
definition of abuse or neglect; 2) conduct timely and accurate investigations of those that do to
determine whether we can substantiate the reported allegations of abuse and neglect; and, 3) make
reliable and well supported recommendations to youth court judges and referees regarding whether a
child must be removed from a home, or can be safely maintained at home with in-home services. For
the children who must be removed from their homes, we must develop and maintain safe, viable
placement options by ensuring that we effectively enforce our licensure standards for relatives, foster
parents, and facilities. Finally, we must deliver effective services, whether in the children's homes or
while they are in foster care, to ensure their parents are equipped to parent their children without
future MDCPS involvement.
We use two outcomes measures to determine our success in keeping Mississippi's children safe:
                        Measure                                    Baseline       Improvement Target
 The number ofsubstantiated victims of child
                                                                     11.63       2% Reduction Annually
 maltreatment per ten thousand in the population.
 The rate of reoccurrence of child maltreatment within
                                                                    6.8%4        2% Reduction Annually
 six months after MDCPS involvement.


        Stability: Mississippi's children will befreefrom unnecessary disruption and the trauma it
        inflicts.
While we effectively respond to instances of child maltreatment, we must ensure that we do not
compound the trauma the children already have experienced by causing unnecessary disruption to

2 Each outcome measure consists of a baseline—current performance—and a performance target—our goal for
improvement going forward.
3 October 2017—September 2018
4 October 2017—September 2018

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their lives. First and foremost, we limit disruption for children by preventing every unnecessary
removal through the delivery ofeffective in-home services. Second, we work to maintain every possible
connection for children who must be removed from their homes. Our priority is to license relatives to
care for children rather than place children into a foster home or congregate facility. We work to place
siblings together ifpossible to do so safely. We make every effort to place children close to their homes,
so they can maintain connections to friends, schools, and other familiar sources ofsocial structure and
stability. Finally, when children must be separated from their parents or siblings, we ensure frequent,
quality visitation to maintain relational ties.
We use three outcomes measures to determine our success in providing stability for Mississippi's
children:
                         Measure                               Baseline       Improvement Target
 The percentage of substantiated victims of maltreatment
                                                                18.5%5       2% Reduction Annually
 removed to foster care.
 The percentage of non-removed substantiated victims of
                                                                7.5%6        2% Reduction Annually
 maltreatment revictimized within six months.
 The number of placement moves per one thousand child
                                                                  3.77       2% Reduction Annually
 days.


        Permanency: Mississippi's children will have safe and lasting permanentfamily connections.
Our goal is not for the State of Mississippi to raise children, but to equip parents to raise their own
children. We succeed when Mississippi children are secure and protected in sustainable and supported
permanent family environments. Whenever possible, our priority is for children to be safely
maintained in their own home, without disrupting their existing living arrangement. But for children
where removal is necessary to protect their safety, we make every effort to provide families the help
they need to bring their children safely home and properly raise them after our involvement ends. Our
goal is not only to reunify families but also to minimize the duration offamily separation. Our work
focuses on timely and lasting permanency for all children.
We work to strengthen Mississippi families by building on their strengths and addressing their needs
through diligent efforts to connect children and families to service providers across a statewide safety
net. Partnerships with other agencies and community partners facilitate the intervention needed to
meet systemic challenges to family stability beyond abuse and neglect itself. We make the family the
focus of our case planning, giving them ownership of their progress, and we work tirelessly to connect
with them by developing a relationship of mutual trust and respect.
When reunification cannot be safely achieved, MDCPS makes every effort to achieve timely
permanency through other permanent placement options. We seek relatives willing to provide
permanent care to a child. We identify loving adoptive homes. And,for those older youth who have

5 October 2017—September 2018
6 October 2017—September 2018
7 April 2018—March 2019


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not been adopted or reunified, we ensure they are given the transition supports necessary to become
healthy, productive, and self-sufficient adults.
We use four outcome measures to determine our success in achieving permanency for Mississippi's
children:
                        Measure                              Baseline      Improvement Target
 The percentage of children exiting custody who were
                                                               64%8        2% Increase Annually
 reunified within 12 months of entering custody.
 The percentage of children exiting custody who were
                                                               78%9        2% Increase Annually
 adopted within 24 months of entering custody.
 The percentage of children exiting custody who exited
                                                              51%10        2% Increase Annually
 to reunification.
 The number children reentering custody.                       38111      2% Reduction Annually


        Wellbeing: Mississippi's children will live healthy, supported, andproductive lives.
Our work to ensure safety, stability, and permanency for Mississippi's children is not done for those
ends alone. We recognize that every person's long-term wellbeing depends greatly upon the degree of
safety, stability, and permanency they experience in childhood. We likewise recognize the long-term
impact of unaddressed childhood trauma. So, we understand that the outcome measures for safety,
stability, and permanency also are predictors offuture wellbeing.
        Children in Custody: Mississippi'sfoster care population will be no larger than necessary.
Finally, because we understand the trauma inflicted by removing children from their homes, we make
every effort to prevent unnecessary removals to foster care. Because we know children need permanent
connections, we make every effort to achieve rapid permanency for every child in foster care. These
efforts work together to drive one other outcome measure: the number ofchildren in foster care. While
we do not set a specific target number for our foster care population, it is our goal that foster care
functions as an intervention oflast resort.




8 April 2018—March 2019
9 April 2018—March 2019
I° April 2018—March 2019
11 April 2018—March 2019
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Our Improvement Initiatives
While our performance indicators track our day-to-day performance under existing practice, we also
are responsible for seeking long-term mechanisms for systemwide improvement. Many are presently
underway.
       Family Engagement
Our Round 3 CFSR results and other data indicate that one barrier to achieving our Safe at Home
outcomes is inadequate family engagement.
Comprehensive Organizational Health Assessment
We believe adequate family engagement comes first and foremost from an organizational culture
committed to maintaining children safely in their homes whenever possible, and to persistent efforts
towards reunification through relationships of mutual respect. To assess the prevalence of that
organizational culture and develop targeted training to address any deficiencies, we are in the process
of conducting a comprehensive organizational health assessment.

                      Strategy                                 Timetable/Benchmarks
 Conduct an online survey of all MDCPS staff       The survey was issued online on May 14, 2019
 to assess the prevalence of Safe at Home          and closed May 27, 2019 with 1,278 responses, a
 cultural values as well as staff perception of    nearly 90% response rate.
 support for their work.
 Present the results of the online survey to       This presentation occurred June 6, 2019.
 supervisory staff at the annual leadership
 conference.
 Craft focus group questions from the survey       A draft was received on June 26, 2019. That same
 responses to further analyze the Safe at Home     day, the draft questions were distributed to the
 culture and identify necessary next steps in      review team. Feedback was received by July 12,
 moving that culture forward.                      2019. Questions were finalized July 17, 2019.
 Conduct five focus groups of MDCPS staff in       Focus groups are planned for the five Thursdays
 Jackson, Oxford, Greenville, Gulfport, and        in August 2019.
 Meridian.
 Prepare a preliminary report on the focus         The report will be prepared by the end of
 group results, identifying any immediate          September 2019.
 response needed.
 Develop a targeted plan to address identified     Training plan will be developed by the end of
 weaknesses in organizational culture.             October 2019.
 Plan external stakeholder surveys and focus       Completion targeted by the end of 2019.
 groups with questions crafted based on the
 survey and focus group responses.
 Develop schedule and process for ongoing          Plan development to be completed by the end of
 cultural assessment through periodic surveys      2019.



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 and focus groups ofstaff and external
 stakeholders.
 Refine cultural improvement plan based on         Completion targeted by the end ofJanuary 2020.
 external stakeholder feedback.


Practice Model Learning Cycle
In addition to fostering the right organizational culture, we recognize that staff must be equipped with
the skills to foster effective family engagement. To that end, we have developed the family-centric and
trauma-informed Mississippi Practice Model. The Practice Model focuses on six core concepts, one of
which is "Involving Children and Families." The Practice Model Learning Cycle(PMLC)is our effort
to roll out that practice model statewide.

                      Strategy                             Timetable/Benchmarks
 Conduct first round of the PMLC in Regions Completed November 15, 2017.
 I-N,I-S, II-W,III-N,III-S, IV-N, and V-W.
 Conduct second round of the PMLC in           Completed in November 15, 2018.
 Regions II-E, V-E, and VII-W.
 Conduct third round of the PMLC in Regions Currently underway and will be completed by
 IV-S, VI, VII-C, and VII-E.                   November 15, 2019.
 Develop plan for continued PMLC education Will be completed before the completion of the
 after all regions have completed the learning current round of the PMLC on November 15,
 cycle, targeting areas of weakness.           2019.


        Complete and Accurate Assessments
Our Round 3 CFSR also identified needed improvement in the quality ofrisk, safety, and family needs
assessment. Our ability to make reliable decisions regarding removal and to deliver necessary services
depends upon complete and accurate assessments.
Practice ModelLearning Cycle
Two of the Practice Model Core Concepts focus on assessment: "Safety Assurance and Risk
Management" and "Strengths and Needs Assessment of Children and Families."

                   Strategy                                   Timetable/Benchmarks
 Conduct first round of the PMLC in Regions        Completed November 15, 2017.
 I-N,I-S, II-W,III-N, III-S, IV-N, and V-W.
 Conduct second round of the PMLC in               Completed in November 15, 2018.
 Regions II-E, V-E, and VII-W.
 Conduct third round of the PMLC in Regions        Currently underway and will be completed by
 IV-S, VI, VII-C, and VII-E.                       November 15, 2019.




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 Develop plan for continued PMLC education          Will be completed before the completion of the
 after all regions have completed the learning      current round of the PMLC on November 15,
 cycle, targeting areas of weakness.                2019.


New Assessment Tools &Revised Training on Assessments
Staff's ability to perform complete and accurate assessments depends first and foremost on the
reliability of the assessment tools used, as well as the staffs competence to administer those tools. So,
we have begun work to evaluate the quality ofour assessment tools and the need for additional training
on assessments.
                     Strategy                                   Timetables/Benchmarks
 Evaluate risk and safety and family needs          A MDCPS workgroup, with technical assistance
 assessment tools utilized by other states and      from a contractor, has begun this evaluation.
 determine whether more reliable tools exist        The feedback of an experienced Mississippi
 than those currently in use.                       youth court judge has been requested. The
                                                    workgroup will provide a recommendation by
                                                    the end of September 2019. MDCPS executive
                                                    leadership then will determine whether to
                                                    procure a new tool.

 If MDCPS choses to procure a new tool, the          To be developed by the end of October 2019.
 workgroup will develop requirements for the
 tool.
 If MDCPS procures a new tool, MDCPS will            To be developed within 60 days of completed
 develop a training plan for tool roll out,          procurement and any necessary period of train
 including preservice training, online training,     the trainer.
 and coaching.
 Ifthe evaluation team and MDCPS executive           To be developed within 60 days of the
 leadership determine that a new tool is not         determination that MDCPS will not proceed
 appropriate, a training plan—including              with the procurement of a new tool.
 preservice training, online training, and
 coaching—will be developed and implemented
 to improve caseworkers use of the existing
 tools.


Revise Mississippi Centralized Intake Screening and ReferralProcesses
In addition to the assessments performed by frontline staffin the field, our data suggests that processes
for screening reports made to Mississippi Centralized Intake(MCI) can be improved. Presently, our
rate ofscreened-in reports is high, while the rate ofsubstantiation is low. This suggests a more effective
screening process and alternative response could improve efficiency.
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                     Strategy                                 Timetable/Benchmarks
  Develop alternative response for                Partnership with Mississippi Department of
  implementation of Comprehensive Addiction       Mental Health, Mississippi Department of
  Recovery Act requirements for response          Health, Families First for Mississippi, and
  substance-affected infants.                     Healthy Families Mississippi implemented in
                                                  June 2018.
  Perform a formal evaluation of MCI processes    A team of contract consultants completed this
  and performance.                                review on October 30, 2018.
  Take greater control of day-to-day MCI          A RFP for a new staffing contracting was issued
  operations by moving MCI from totally           July 8, 2019, with responses due August 1,
  contracted out to a private agency to MDCPS     2019. MDCPS will hire supervisory staff to be
  employees providing direct management and       in place by October 2019.
  supervision to contract call-answering staff.
  Evaluate alternative systems ofscreening and    A workgroup of MDCPS MCI and field
  response.                                       operations staff will be organized once MDCPS
                                                  has assumed management and supervision of
                                                  MCI. Assessment to be completed during the
                                                  first quarter of 2020.


        Service Array
 Effective family engagement and accurate assessment can achieve our desired outcomes only if they
 are followed by our delivery of the services families need. While we have experienced extraordinary
 success with our InCirde intensive in-home family preservation and reunifications services program,
 waitlists have developed for those services and efforts to increase their availability are needed.
 Practice ModelLearning Cycle
 As with family engagement and assessment, the Mississippi Practice Model trains caseworkers to
 identify and access needed services with one of its core concepts: "Timely Mobilizing Appropriate
 Services."

                       Strategy                             Timetable/Benchmarks
  Conduct first round of the PMLC in Regions Completed November 15, 2017.
  I-N, I-S, II-W,III-N, III-S, IV-N, and V-W.
  Conduct second round of the PMLC in           Completed November 15, 2018.
  Regions II-E, V-E, and VII-W.
  Conduct third round of the PMLC in Regions Currently underway and will be completed by
  IV-S, VI, VII-C, and VII-E.                   November 2019.
  Develop plan for continued PMLC education Will be completed before the completion of the
  after all regions have completed the learning current round of the PMLC on November 15,
  cycle, targeting areas of weakness.           2019.




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 Families FirstPrevention Services Act(FFPSA)Implementation
 The FFPSA will provide federal funding for intensive in-home services. But because this new federal
 law makes radical changes in how the federal government provides funding to child welfare agencies,
 the Children's Bureau has granted states up to two years from October 1, 2019, to implement its
 provisions. One effort to increase our service array is our work to implement the FFPSA as soon as
 reasonably possible.

                    Strategy                                      Timetable/Benchmarks
  Educate Mississippi stakeholders on the Act's       MDCPS and MDHS leadership received
  requirements.                                       training from national experts on October 29,
                                                      2018. National experts provided training to
                                                      MDCPS congregate care providers on
                                                      September 13, 2018. The Court Improvement
                                                      Project has provided judicial training and will
                                                      continue to do so. By the time of
                                                      implementation, FFPSA content will be
                                                      incorporated into all MDCPS's training phases.
  Develop Mississippi's implementation plan.          MDCPS established dedicated project
                                                      management staff in July 2019. Their first task is
                                                      the development of an FFPSA implementation
                                                      plan, which will phase in all the Act's
                                                      requirements by October 1, 2021.


Diversifying Intensive In-home Services
 We also are evaluating whether the FFPSA can increase the quantity of intensive in-home services
 available by diversifying the service array with programs that require less intensive staffing for families
 with less acute needs.

                      Strategy                                   Timelines/Benchmarks
  Assess provider willingness to adopt less          Multiple providers have expressed a willingness to
  staffing-intensive programs to serve more          do so during 2019.
  families with existing resources.

  Procure various evidence-based intensive in-       Procurement to be completed by FFPSA
  home services programs.                            implementation on October 1, 2021.
  Develop protocol or assessment for                 Protocol to be developed by FFPSA
  determining the appropriate referral among         implementation October 1, 2021.
  the pool of in-home services programs.
  Train internal and external stakeholders on        MDCPS staff will be trained through the three-
  the new in-home services array.                    pronged training process: preservice, online,
                                                     coaching. Externally, MDCPS will request that
                                                     education on the new service array be


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                                                  incorporated into the judicial training provided
                                                  both by the Mississippi Judicial College and the
                                                  AOC/CIP.


 Increase Awareness ofExisting Services
 We have several efforts underway to ensure that MDCPS staff are aware of and accessing all available
 services in the State.

                   Strategy                             Timelines/Benchmarks
  Development of Mississippi Association of MACCA began work on comprehensive service
  Child Care Agencies(MACCA)service guide. guide in mid-2019. A completed guide is
                                            expected by the end of 2019. MDCPS leadership
                                            will meet with MACCA representatives in early
                                            August 2019 to review a draft of the guide.
  Development of MDHS resource system.            MDHS has begun work on a computer database
                                                  identifying all services of which the agency is
                                                  aware. An expected date for rollout has not been
                                                  determined.
  Training by Families First for Mississippi on   Throughout 2019, MDCPS caseworkers have
  the service available through their resource    received this training.
  centers.
  Implementation of Families First Initiative     During 2019, the Families First Initiative (FFI)
  service referral system.                        has worked to implement a service referral system
                                                  for local resources in certain pilot counties. We
                                                  expect these local FFI teams to be expanded
                                                  across the state, and to be an important source of
                                                  service referrals to the MDHS resource system
                                                  available for referrals by our caseworkers.


        System Infiastructure
 Several concerns related to system infrastructure have been identified through the CFSR and MDCPS
 strategic planning processes. Workforce challenges of an inadequate number of staff combined with
 caseworker turnover have impeded performance. Another identified barrier is inadequate
 standardization of MDCPS supervisory practice. MDCPS also has experienced challenges in the
 collection and reporting of data.
 Workforce Development
 MDCPS is working to improve its workforce through an increased quantity of staff, agency
 reorganization, and retention efforts to keep experienced staff.




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                     Strategy                                Timetable/Benchmarks
  Increase the number of MDCPS frontline,     Effective July 1, 2019, MDCPS will use increased
  licensure, and adoption caseworkers.        state funding to lift restrictions on growing its
                                              workforce and will make every effort to fill each
                                              training class to capacity.
  Increase the number of MDCPS supervisors.   For each five frontline, licensure, and adoption
                                              caseworkers added, MDCPS has budgeted to add
                                              an additional supervisor.
  Continue efforts to improve retention of    Employee surveys consistently have shown pay is
  caseworkers and supervisors.                a primary cause ofstaff attrition. All MDCPS
                                              staff received a 3% raise beginning July 1, 2019.
                                              MDCPS also will request funding in SFY 2021 to
                                              fund step raises for MDCPS employees tied to
                                              tenure with the agency. Survey data also shows
                                              stress in the workplace contributes to staff
                                              attrition. MDCPS's organizational health
                                              assessment, discussed above, serves as an effort to
                                              ensure issues of organizational culture do not
                                              contribute to staff attrition. Also, MDCPS's
                                              effort to improve supervisory support through
                                              weekly case staffing -- discussed in the following
                                              chart — is designed to reduce employee stress by
                                              enhanced burden-sharing with supervisors.
 Reorganize and increase State Office staff   In July 2019, MDCPS moved responsibility for
 dedicated to long term improvement           its Offices of Licensure and Therapeutic and
 initiatives and performance reporting        Prevention Services to the Deputy Commissioner
 obligations.                                 of Child Welfare giving her responsibility for all
                                              units that deliver day-to-day services. In their
                                              place, Offices of Reporting and Project
                                              Management have been created under the
                                              Deputy Commissioner of Child Safety. These
                                              units solely have responsibility for reporting
                                              MDCPS's performance for Olivia Y, federal, state
                                              and other purposes; and for managing MDCPS's
                                              long-term improvement initiatives. Additional
                                              staff will be added for each unit early in SFY
                                              2020.




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Effective Supervision
 Because we understand that an employee's direct supervisor has the greatest impact on their
 performance, we have several initiatives underway to improve the quality of our supervisory
 workforce's leadership and supervision.

                     Strategy                                    Timetable/Benchmarks
  Develop frontline, licensure, and adoption       An internal workgroup developed a standardized
  standardized case staffing tools.                case staffing tool for frontline staff during the first
                                                   half of 2019. The tool was presented to all
                                                   supervisory staff during training session at our
                                                   June 2019 leadership conference. Similar tools
                                                   have been developed for our licensure and
                                                   adoption units. Training on the tools will be
                                                   incorporated into all three phases of our training
                                                   program.
  Reinforce practices of progressive discipline.   At our June 2019 leadership conference, all
                                                   supervisors were trained on progressive discipline.
                                                   We have implemented a four-tiered approach to
                                                   staff discipline including coaching, verbal
                                                   reprimands, written reprimands, and
                                                   suspension/termination. Training on progressive
                                                   discipline will be ongoing for our supervisory
                                                   staff.
 Implement enhanced leadership education.          We also have begun education on leadership as
                                                   distinct practice from supervision or
                                                   management. This content was provided to our
                                                   supervisory staff at the June 2019 leadership
                                                   conference and will be incorporated into our
                                                   supervisory training going forward.


Increased Data Reporting Capacity
To improve our data collection and reporting, we have both long- and short-term solutions in progress.

                  Strategy                              Timetable/Benchmarks
 Develop and implement a Comprehensive     Using funding provided by the Legislature, we,
 Child Welfare Information System (CCWIS). by June 30, 2021, will replace our legacy data
                                           system MACWIS with a CCWIS-compliant
                                           system that improves caseworker efficiency in
                                           data entry and increases our capacity for data
                                           reporting. An Advanced Planning Document was
                                           submitted to the Children's Bureau June 30,



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                                                 2019, to request federal funding for the project.
                                                 An RFP also has been submitted to the
                                                 Children's Bureau and State Department of
                                                 Information Technology Services for approval.
                                                 Planning, staffing, and procurement for the
                                                 project already are underway, and development is
                                                 expected to begin by the end of2019.
  Implement medical service survey for foster    In January 2019, we created and issued an online
  parents.                                       survey that allows foster parents to report medical
                                                 care they facilitate for children in MDCPS
                                                 custody.
  Increase access to Medicaid data.              During 2018, we worked with the Division of
                                                 Medicaid to obtain claims data for children in
                                                 our custody. Though the claims data proved
                                                 unhelpful in providing needed documentation,
                                                 we have had continued conversations with the
                                                 Division of Medicaid to find alternative ways
                                                 Medicaid data may assist our data collection.
  Onboard contract resources to improve the      In May 2019, we brought a contract programmer
  quality of data reports.                       on board to begin rewriting our data reports for
                                                 improved data quality. By August 2019, we
                                                 expect to add an additional contract staff resource
                                                 to supplement this work.
  Implement a new Continuous Quality             During 2018, we developed a continuous quality
  Improvement plan.                              improvement plan that provides for increased
                                                 qualitative case reviews around Olivia Y
                                                 deliverables. That plan has been implemented for
                                                 2019 and is intended to institutionalize CQI
                                                 activities throughout all functional areas of the
                                                 agency.


 Enhanced Financial Management
 Many of the challenges we have experienced are related to funding and budgeting. To continue our
 improvement in financial management, we have worked to separate our budget in the state accounting
 system from that of MDHS.

                 Strategy                                   Timetable/Benchmarks
  Separate MDCPS budget from MDHS                This work occurred over the first half of 2019.
  budget in MAGIC,the state's accounting
  system.




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        Stakeholder Collaboration
 While there are a great number ofinternal initiatives underway, we realize that our collaboration with
 external stakeholders also contributes to our success. To further that collaboration, several initiatives
 are underway.

                     Strategy                              Timetable/Benchmarks
  Engage the judiciary in collaborative training
                                             As part of the PMLC in Region VII-W during
  that advances the Safe at Home vision.     2018, the Hancock County Youth Court was
                                             engaged in a judicially targeted version of the
                                             Learning Cycle. The success in reducing entries
                                             into foster care was substantial and immediate.
                                             So, during 2019, we have engaged similar efforts
                                             in several other courts including Harrison,
                                             Jackson, Jones, Lauderdale, Lamar, Forrest, and
                                             Stone counties. Going forward, we will pursue
                                             this model in other jurisdictions. We also have
                                             had staff in attendance at trainings held by the
                                             Administrative Office of Courts in 2018 and
                                             2019, which will continue. Finally, we have
                                             presented at the 2017 and 2018 youth court
                                             judges' conferences hosted by the Mississippi
                                             Judicial College and will continue to do so.
  Engage the judiciary to improve MDCPS's    During 2018 and 2019, we have collaborated and
  recovery offederal funds.                  worked with the Supreme Court and its Jurist-in-
                                             Residence to reduce the loss offederal funds to
                                             MDCPS due to insufficient or incorrect language
                                             in youth court orders.
  Enhance primary prevention through support While our statutory mission is primarily
  ofthe Family First Initiative.             responsive to reports of abuse or neglect, we are
                                             supporting the efforts of the Family First
                                             Initiative to coordinate local efforts to provide
                                             resources necessary to prevent child
                                             maltreatment.
  Increase foster parent engagement by       To increase our engagement with foster parents,
  establishing a foster parent liaison.      and improve their retention, we have established
                                             a new state office position of Foster Parent
                                             Liaison. Beginning July 2019, the liaison will
                                             help facilitate foster parent support groups, hold
                                             foster parent town halls, respond to foster parent
                                             concerns, convene foster parent focus groups, and
                                             provide information for a monthly foster parent
                                             newsletter.



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  Support state efforts to implement statewide   For the past few years, MDCPS has been a part of
  parent representation.                         the Mississippi Parent Representation Task Force,
                                                 which has worked to implement statewide parent
                                                 representation in youth court. We will continue
                                                 to support this task force's work with the
                                                 assistance of data production and through
                                                 implementation ofIV-E reimbursement for
                                                 youth court attorneys.




 Our Performance Indicators
 Performance indicators differ from outcome measures in that they do not measure the ultimate
 outcome of a system, but instead measure whether certain actions occur in the processes designed to
 lead to the intended outcomes. In other words, performance indicators measure the completion of
 tasks—the means—that contribute to the agency's ability to achieve its desired ends.
 Our performance indicators are taken from two primary sources. First, we measure performance based
 on the measurement and assessment criteria set of the federal Child and Family Services Review and
 second, on performance measures identified in the 2nd Modified Settlement Agreement and Reform
 Plan in the Olivia Y litigation.
 Hotlinks:
 Children's Bureau — Child and Family Services Review criteria:
 https://www.acf.hhs.gov/sites/default/files/cb/round3 procedures manual.pdf


 Olivia Y — 2nd Modified Settlement Agreement and Reform Plan:
 https://www.mdcps.ms.gov/wp-content/uploads/2016/12/Second-MSA.pdf




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